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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

            Plaintiff,

      v.

PETER BARABASH
68 CASCADE DRIVE                                            1:05-CR-00186-003
AMHERST, NEW YORK 14228,

            Defendant,

      and

FIRST SOURCE ADVANTAGE
ATTN: PAYROLL
205 BRYANT WOODS SOUTH
AMHERST, NEW YORK 14228,

            Garnishee.



                                GARNISHEE ORDER


      A Writ of Continuing Garnishment, directed to Garnishee, has been duly issued and

served upon the Garnishee.     Pursuant to the Writ of Continuing Garnishment, the

Garnishee filed an Answer on August 9, 2010.

      On July 29, 2010, the Defendant was notified of his right to a hearing and has not

requested a hearing to object to the Answer of the Garnishee or determine exempt

property.

      Whereupon the Court, having considered the Application for a Writ of Continuing

Garnishment against the Earnings of the Defendant, the Answer of the Garnishee, and
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noting that the Defendant has not exercised his right to request a hearing, now finds that

the entry of the Garnishee Order is in all respects proper.

       IT IS HEREBY ORDERED that the Garnishee pay, to Plaintiff, United States of

America, in care of the Clerk, United States District Court, at bi-weekly or at least monthly,

the lessor of:

       1.        $75.00 per pay period, or a minimum of $150.00 per month, as opposed to

the twenty-five percent (25%) initially requested to be withheld by the Garnishee, of the

judgment debtor’s non-exempt disposable earnings; or

       2.        All amounts of judgment debtor’s disposable earnings in excess of thirty (30)

times the federal minimum hourly wage in effect at the time the debtor’s earnings are

payable. See 15 U.S.C. § 1673(a).

       IT IS FURTHER ORDERED that all monies previously withheld by the Garnishee

in accordance with the Writ of Continuing Garnishment, shall be paid immediately to the

United States.

       IT IS FURTHER ORDERED that the Garnishee continue to withhold such additional

non-exempt personal property belonging to PETER BARABASH, SSN: XXX-XX-4842, as

should come into the Garnishee’s possession or control in the future until the above-

referenced judgment is either paid in full, or otherwise satisfied, or the Defendant

separates from the Garnishee’s employment pursuant to Title 28, United States Code,

Section 3205(c)(10), and that the Garnishee pay over such property to Plaintiff.
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         Checks should be payable to:

         CLERK, U.S. DISTRICT COURT

         and mailed to:

         CLERK, U.S. DISTRICT COURT
         304 U.S. Courthouse
         68 Court Street
         Buffalo, New York 14202


         This Order shall take effect after all prior Orders in garnishment have been satisfied.




         SO ORDERED.

Dated:      September 2, 2010
            Buffalo, NY



                                                    /s/William M. Skretny
                                                   WILLIAM M. SKRETNY
                                                           Chief Judge
                                                   United States District Court
